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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


ASSOCIATION OF AMERICAN
UNIVERSITIES,

AMERICAN COUNCIL ON EDUCATION,

ASSOCIATION OF PUBLIC AND LAND-
GRANT UNIVERSITIES,

AZ BOARD OF REGENTS ON BEHALF OF
ARIZONA STATE UNIVERSITY,                    Case No. _______________

BROWN UNIVERSITY,                            COMPLAINT

CALIFORNIA INSTITUTE OF TECHNOLOGY,

THE REGENTS OF THE UNIVERSITY OF
CALIFORNIA,

CARNEGIE MELLON UNIVERSITY,

UNIVERSITY OF CHICAGO,

CORNELL UNIVERSITY,

BOARD OF TRUSTEES OF THE UNIVERSITY
OF ILLINOIS,

MASSACHUSETTS INSTITUTE OF
TECHNOLOGY,

REGENTS OF THE UNIVERSITY OF
MICHIGAN,

REGENTS OF THE UNIVERSITY OF
MINNESOTA,

UNIVERSITY OF PENNSYLVANIA,

THE TRUSTEES OF PRINCETON
UNIVERSITY,

          Plaintiffs,
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         v.

 NATIONAL SCIENCE FOUNDATION, and

 BRIAN STONE, in his official capacity as Acting
 Director of the National Science Foundation,

                 Defendants.


        1.      This suit challenges the unilateral decision of the National Science Foundation

(“NSF”) to slash “indirect cost rates” for government-funded research. This policy is identical in

key respects to policies of the National Institutes of Health (“NIH”) and Department of Energy

(“DOE”) that district courts have already enjoined. Massachusetts v. Nat’l Insts. of Health

(“NIH”), No. 25-CV-10338, __ F. Supp. 3d __, 2025 WL 702163, at *1 (D. Mass. Mar. 5, 2025),

judgment entered, 2025 WL 1063760 (D. Mass. Apr. 4, 2025), appeal docketed, No. 25-1344 (1st

Cir. Apr. 9, 2025); Ass’n of Am. Univs. (“AAU”) v. Dep’t of Energy, No. 25-cv-10912, 2025 WL

1119791, at *1 (D. Mass Apr. 16, 2025). NSF’s action is unlawful for most of the same reasons,

and it is especially arbitrary because NSF has not even attempted to address many of the flaws the

district courts found with NIH’s and DOE’s unlawful policies. As with those policies, if NSF’s

policy is allowed to stand, it will badly undermine scientific research at America’s universities and

erode our Nation’s enviable status as a global leader in scientific research and innovation.

        2.      For decades, universities have built their research institutions on the government’s

settled approach to funding the actual costs of the research it sponsors. Some of those costs are

“direct;” that is, they are readily attributable to specific projects. Others are “indirect;” that is, they

are necessary for the research to occur but harder to attribute to individual projects. Computer

systems to analyze enormous volumes of data; information-technology and utility systems

providing the backbone for those efforts; building, maintaining, operating, and keeping up to date


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the buildings in which funded research occurs, including their specialized electrical, plumbing,

and waste-management systems; and researchers and administrative staff who keep the systems

running—all are critical to cutting-edge research, but their costs typically cannot be allocated to

any single project. Because of caps on administrative costs, moreover, universities contribute

much of their own funds to cover such costs, thereby subsidizing the work funded by grants and

cooperative agreements. In the 2023 fiscal year, universities bore $6.8 billion in unrecovered

indirect costs. 1

        3.      Congress authorized agencies to “provide for payment of reimbursable indirect

costs on the basis of predetermined fixed-percentage rates” via a bespoke process accounting for

each institution’s unique cost structures and grants, 41 U.S.C. § 4708, and it delegated to the

Executive Branch the task of identifying institution-specific metrics. The Office of Management

and Budget (“OMB”) exercised its authority to promulgate regulations requiring agencies to

negotiate indirect cost rates with individual funding recipients through a carefully regulated

process based on each institution’s unique needs and cost structure. See 31 U.S.C. § 503(a),

(b)(2)(C) (empowering OMB to “establish governmentwide financial management policies for

executive agencies,” including as to “grant[s]”). By regulation, this negotiation yields a rate that

is intended to reflect the actual, verified indirect costs incurred by the institution.        Then,

“[n]egotiated indirect cost rates must be accepted by all Federal agencies,” unless one of the narrow

exceptions applies. 2 C.F.R. § 200.414(c)(1).

        4.      The purpose of this process is to ensure that the negotiated rate correctly captures

the actual indirect costs incurred in the conduct of research. Differences in indirect cost rates




1 Nat’l Ctr. for Sci. & Eng’g Statistics, Higher Education R&D Expenditures Increased 11.2%,

Exceeded $108 Billion in FY 2023 (Nov. 25, 2024), https://ncses.nsf.gov/pubs/nsf25313.

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reflect the reality that institutions engage in different types of research and have unique mixes of

fixed and variable costs that are allocated across multiple research projects. Government funding

agencies may deviate from the negotiated rates only in limited circumstances, and only via

procedures that provide ample notice and protections to ensure that the basic terms of engagement

are not changed precipitously. The regulatory framework recognizes that there is no one-size-fits-

all approach and that participating institutions have profound reliance interests in the negotiated

rates—rates that are tailored to their circumstances and that facilitate the work that makes the

United States a world leader in cutting-edge research.

       5.      This is not the first time an administration has considered limiting indirect cost rates

and superimposing a one-size-fits-all regime on what has long been a tailored, negotiated process.

In 2017, the Administration proposed in the appropriations process slashing the indirect cost rate

to 10% for all NIH grants. The reaction in Congress was swift and bipartisan, and Congress

identified serious problems immediately. It observed that the proposal would “radically change

the nature of the Federal Government’s relationship with the research community” by altering a

methodology for indirect rates that “has been in place since 1965”; emphasized that Congress had

“not seen any details of the proposal that might explain how it could be accomplished without

throwing research programs across the country into disarray,” S. Rep. No. 115-150, at 109 (2017);

and concluded that this proposal was “misguided and would have a devastating impact on

biomedical research across the country,” H.R. Rep. No. 115-244, at 50 (2017).

       6.      In February 2025, the Administration nonetheless tried to impose a similar limit

through executive action: NIH issued a notice stating that it was “imposing a standard indirect

cost rate on all grants of 15%.” NIH, Supplemental Guidance to the 2024 NIH Grants Policy

Statement: Indirect Cost Rates, NOT-OD-25-068 (Feb. 7, 2025), https://grants.nih.gov/grants/



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guide/notice-files/NOT-OD-25-068.html. A federal district court quickly enjoined that policy,

finding that the Administration had not only violated an appropriations rider that Congress had

enacted in the wake of the 2017 NIH episode, but also had violated the government-wide

regulations governing indirect cost rates and the reasoned decisionmaking requirements of the

Administrative Procedure Act (“APA”). NIH, 2025 WL 702163, at *1.

       7.      Even so, the Administration on the heels of that decision nonetheless issued an

almost identical policy at DOE. The policy states that “hereinafter, the Department [of Energy]

will no longer use the negotiated indirect cost rate” for universities; “set[] a standardized 15 percent

indirect cost rate for all grant awards to” universities; and announced that DOE “is undertaking

action to terminate all grant awards to [universities] that do not conform with this updated policy.”

DOE, Policy Flash: Adjusting Department of Energy Grant Policy for Institutions of Higher

Education (IHE) (Apr. 11, 2025), https://www.energy.gov/management/pf-2025-22-adjusting-

department-energy-grant-policy-institutions-higher-education-ihe. Again, a federal district court

quickly enjoined the policy. AAU, 2025 WL 1119791, at *1.

       8.      Now the Administration has brought the same approach to NSF. On Friday, May

2, 2025, NSF issued a new policy imposing a categorical cap on all new grant and cooperative

agreement awards to universities. That policy states that “[e]ffective May 5, 2025, NSF will apply

a standard indirect cost rate not to exceed 15% to all grants and cooperative agreements awarded

to [universities] for which indirect costs are allowable.” NSF, Policy Notice: Implementation of

Standard 15% Indirect Cost Rate (May 2, 2025) (attached as Ex. A) (“Rate Cap Policy” or

“Policy”). The announcement acknowledges that “[i]ndirect costs support the infrastructure and

administrative functions necessary for the conduct of federally supported research,” but then

imposes without explanation a categorical limit on indirect cost rates of 15%. Id. The Rate Cap



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Policy applies this supposedly necessary limit on indirect cost rates only to universities, not to

other institutions that participate in NSF grants and cooperative agreements. 2

       9.      As with the similar policies at NIH and DOE, NSF’s Rate Cap Policy is clearly

unlawful. First, it violates the governing statutes in myriad respects. The Policy sets “a

predetermined fixed-percentage rate[]” of 15% that is not based on an estimate of actual

“reimbursable indirect costs.” 41 U.S.C. § 4708. And with Congress having preserved a tailored

approach to indirect cost rates since 1965, it beggars belief to suggest that Congress—without

saying a word—impliedly authorized NSF to enact a sweeping, one-size-fits-all command that will

upend research at America’s universities. See MCI Telecomms. Corp. v. Am. Tel. & Tel. Co., 512

U.S. 218, 229 (1994).

       10.     Second, the Rate Cap Policy violates the indirect cost regulations that OMB

promulgated to provide stability, protect reliance interests, and ensure that recipients can cover the

actual costs of conducting the research the government has selected them to undertake. Those

regulations provide, in no uncertain terms, that the “[n]egotiated indirect cost rates must be

accepted by all Federal agencies.” 2 C.F.R. § 200.414(c)(1). NSF’s reading of that mandate’s

narrow exceptions would nullify that command, effectively replace the word “must” with “may,”

and allow any agency to reject those negotiated rates simply by announcing a different across-the-

board policy. Moreover, Plaintiffs collectively have thousands of proposals pending before the

NSF that were prepared in reliance on their individually negotiated indirect cost rates. To the

extent the new rate will be applied to awards that did not include notice of the 15% rate, the Rate

Cap Policy separately violates the regulations’ requirement that any departure from the negotiated

rate appear upfront in the notice of funding opportunity.


2 This Complaint uses “universities” as a shorthand for the “institutions of higher education” that

are subject to the Rate Cap Policy.

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       11.     Third, the Rate Cap Policy’s conclusory explanation falls far short of satisfying the

APA’s reasoned-decisionmaking requirements.            The Policy ignores that the process of

approximating indirect costs is inherently individualized and is—at its core—incompatible with

its one-size-fits-all approach. The Policy ignores the immense harms from jettisoning an approach

dating from 1965—harms that Congress itself emphasized in rejecting a materially identical

proposal in 2017. The Policy ignores the reliance interests of the universities that carry out

federally sponsored research, which have structured their budgets and investment decisions on the

durable approach to indirect cost rates that Congress has embedded in statute and that the

Executive Branch has protected in regulation. And the Policy ignores the NSF’s policy on cost

sharing and the findings underlying that policy, which recognize that NSF should generally fund

the full costs of the research it sponsors and that attempts to impose mandatory cost sharing create

immense problems. Meanwhile, the Policy inexplicably singles out universities and does not

explain why it exempts other recipients.

       12.     The effects will be immediate and irreparable. If indirect cost rates are cut to 15%,

the amount and scope of future research by universities will decline precipitously. Vital scientific

work will come to a halt, training will be stifled, and the pace of scientific discoveries will slow.

Progress on national security objectives, such as maintaining strategic advantages in areas like

AI and quantum computing, will falter. And because of all this, America’s standing as a world

leader in scientific discovery will decline. The proposals that are pending before the NSF, which

responded to notices of funding opportunity, all assumed in their scopes of work and budgets that

their home institutions’ indirect cost rates would be used. These include not only fundamental

research into scientific understanding, but also projects pioneering cutting-edge innovations in

artificial intelligence, quantum computing, cybersecurity, semiconductors, virtual reality,



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cryopreservation of living tissue, and other technology fields. Many of these proposals will no

longer be viable.

                                 JURISDICTION AND VENUE

       13.     This action arises under the Administrative Procedure Act (APA), 5 U.S.C.

§§ 701-706, and regulations governing federal grants and cooperative agreements. This Court

has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and the APA.

       14.     Venue is proper in this District under 28 U.S.C. § 1391(e)(1), because Defendants

are agencies of the United States and officers of the United States acting in their official capacity,

and a substantial part of the events or omissions giving rise to the claims occurred in this District,

and a Plaintiff resides in this District.

                                             PARTIES

       15.     Plaintiff Association of American Universities (“AAU”) is an association

composed of 71 leading research universities with the goal of transforming lives through

education, research, and innovation. AAU’s member organizations are public and private

research universities that are world-renowned centers of scientific and technological research and

innovation. Much of their scientific work is supported by NSF grants and cooperative

agreements. AAU’s members intend to apply for new funding awards, and/or renewals and

continuations of existing funding awards, in the next year and in future years to come.

       16.     Plaintiff Association of Public and Land-Grant Universities (“APLU”) is a

membership organization that fosters a community of university leaders collectively working to

advance the mission of public research universities. A core mission of the APLU is fostering

research and innovation, specifically by “promoting pathbreaking scientific research.” 3 APLU’s



3 Ass’n of Pub. & Land-Grant Univs., About Us, https://www.aplu.org/about-us/ (last visited



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membership consists of over 200 research universities, land-grant institutions, and affiliated

organizations across the United States. Much of their scientific work is supported by NSF grants

and cooperative agreements. APLU’s members intend to apply for new funding awards, and/or

renewals and continuations of existing funding awards, in the next year and in future years to

come.

        17.     Plaintiff American Council on Education (“ACE”) is a nonprofit association

composed of more than 1,600 colleges, universities, and higher education-related associations,

organizations, and corporations with the goal of enabling higher education institutions to flourish.

ACE’s member organizations are accredited, degree-granting colleges and universities, as well

as related associations, organizations, and corporations that also serve as world-renowned centers

of scientific technological research and innovation. Much of their scientific work is supported

by NSF grants and cooperative agreements. ACE’s members intend to apply for new funding

awards, and/or renewals and continuations of existing funding awards, in the next year and in

future years to come.

        18.     Plaintiff Arizona Board of Regents is the governing body of Arizona State

University (“ASU”), a public university with four campuses in Maricopa County, Arizona. ASU

is a comprehensive research university committed to advancing research and discovery of public

value and has one of the fastest-growing research enterprises in the United States. In fiscal year

2024, ASU received 172 awards from NSF, totaling over $110.5 million in anticipated funding

and $87 million in obligated funding. The on-campus facilities and administrative rate applicable

to NSF awards for ASU’s 2026 fiscal year, as negotiated with the Department of Health and

Human Services, is 57.0%. ASU intends to apply for new funding awards, and/or renewals and



May 5, 2025).

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continuations of existing funding awards, in the next year and in future years to come.

        19.    Plaintiff Brown University (“Brown”) is a private university located in

Providence, Rhode Island. Brown conducts fundamental and applied research directed at the

forefront of national priorities. In the 2024 fiscal year, Brown expended $34.4 million in grants

from NSF to support nearly 250 projects in every scientific discipline represented by NSF.

Through the 2027 fiscal year, Brown’s predetermined indirect cost rate is 59.5% for on-campus

research. If—contrary to what Brown has negotiated with the federal government—the indirect

cost rate was reduced to 15% for new awards, that would significantly reduce Brown’s anticipated

annual indirect cost recovery. For example, applying the 15% rate to the anticipated modified

direct costs over the next five years, Brown’s anticipated annual indirect cost recovery would be

reduced by $11.25M from $9M each year to $6.75M a year. Brown intends to apply for new

funding awards, and/or renewals and continuations of existing funding awards, in the next year

and in future years to come.

        20.    Plaintiff California Institute of Technology (“Caltech”) is a private university

located in Pasadena, California. Caltech leads research in areas such as neuroscience, biology

and health, quantum science and engineering, advanced computing and artificial intelligence, and

planetary and earth science. Caltech has 210 active NSF awards and subawards. In the 2024

fiscal year, Caltech expended $93,411,998 in conducting research supported by NSF; of this total,

$71,709,654 were expended as direct costs, $21,702,344 as indirect costs. NSF’s planned cap of

15% for indirect cost expenditures would result in an annual loss of approximately $14.8 million

to Caltech’s planned research budget. Caltech intends to apply for new funding awards, and/or

renewals and continuations of existing funding awards, in the next year and in future years to

come.



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       21.     Plaintiff The Regents of the University of California (“UC”) is a public

corporation that owns and operates the University of California system as a public trust, and is

located in Oakland, California. In the 2024 fiscal year, UC spent $435.7 million in direct costs

on NSF contracts and grants, for which it received $138.6 million in indirect cost recovery. If—

contrary to what UC has negotiated with the federal government—the F&A cost rate for NSF

grants was reduced to 15%, UC calculates, based on 2023-2024 modified total direct costs, that

would reduce the University’s anticipated annual F&A cost recovery by approximately

$94.4 million. UC intends to apply for new funding awards, and/or renewals and continuations

of existing funding awards, in the next year and in future years to come.

       22.     Plaintiff Carnegie Mellon University (“CMU”) is a private university located in

Pittsburgh, Pennsylvania. A leading research institution and global leader in computer science,

engineering, robotics, the arts, and design, CMU fosters and supports groundbreaking

interdisciplinary research that impacts society in transformative ways. CMU has 690 active

research awards from NSF totaling $332.6 million in total funding, made up of $296.3 million in

grants and $36.3 million in cooperative agreements. CMU’s indirect cost rate for on-campus

research for the fiscal year ending on June 30, 2025, is 51.8%. If—contrary to what CMU has

negotiated with the federal government—the indirect cost rate was reduced to 15% for new

awards, that would in time reduce CMU’s anticipated total annual indirect cost recovery by

approximately $12.8 million to approximately $5.3 million. CMU intends to apply for new

funding awards, and/or renewals and continuations of existing funding awards, in the next year

and in future years to come.

       23.     Plaintiff University of Chicago (“UChicago”) is a private university located in

Chicago, Illinois. UChicago is a leading academic and research institution driving field-defining



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research that produces new knowledge and breakthroughs with substantial impact: NSF funding

supports UChicago faculty, researchers, and students to make critical advancements promoting

American innovation, economic growth, and national competitiveness in areas including AI and

machine learning, particle physics, quantum sensors in industrial applications and healthcare,

quantum computing, chemical biology and mechanistic organic chemistry, astronomy,

economics, mathematical and statistical underpinnings of data science, nanomaterials and

materials science, and the physics of living systems. NSF’s planned cap of 15% for indirect cost

expenditures would result in an approximately $14.5 million dollar loss annually to UChicago’s

planned research budget. UChicago intends to apply for new funding awards, and/or renewals

and continuations of existing funding awards, in the next year and in future years to come.

       24.    Plaintiff Cornell University (“Cornell”) is a private university located in Ithaca,

New York. Cornell is a leading research institution that has been selected by the federal

government to conduct a wide variety of vital forms of research on behalf of United States

citizens, funded in part by agency awards, cooperative agreements, and contracts from across the

federal government, including NSF. For the 2024 fiscal year, Cornell expended approximately

$138 million on more than 580 grants and cooperative agreements from NSF. Cornell has

negotiated an indirect cost rate of up to 64% for its Ithaca campus. Reducing the indirect cost

recovery rate to 15%—instead of using the rate Cornell has negotiated with the federal

government—would be devastating for achieving results in the type of research that NSF

sponsors. If Cornell’s NSF-sponsored portfolio remained stable, in a typical fiscal year the cap

would reduce Cornell’s indirect cost recovery on NSF-sponsored activities to approximately $8

million per year, a decrease of approximately $25 million each and every year. Cornell intends

to apply for new funding awards, and/or renewals and continuations of existing funding awards,



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in the next year and in future years to come.

       25.     Plaintiff Board of Trustees of the University of Illinois (“Illinois”) is the governing

body of the University of Illinois, a public university with its flagship campus in Urbana-

Champaign, Illinois. Illinois receives substantial annual funding from NSF. In the 2024 fiscal

year, Illinois had 501 unique principal investigators receiving NSF funding, totaling

$129,288,449 in NSF funding ($97,452,569 in direct costs and $31,838,880 in indirect costs,

based on a 58.6% indirect cost rate). NSF is the University’s leading funder, and Illinois has

received more NSF funding than any other university in the nation for six consecutive years.

Based on expenditures from the 2024 fiscal year, a 15% indirect cost rate would have resulted in

an estimated loss of more than $23 million. Illinois intends to apply for new funding awards,

and/or renewals and continuations of existing funding awards, in the next year and in future years

to come.

       26.     Plaintiff Massachusetts Institute of Technology (“MIT”) is a private land-grant

university located in Cambridge, Massachusetts. Founded to accelerate the nation’s industrial

revolution, MIT faculty, researchers, and graduates have invented fundamental technologies,

launched new industries, and advanced human understanding of science, technology, and other

areas of scholarship. In the 2024 fiscal year, MIT received $97 million in funding from NSF for

performing sponsored research under grants and cooperative agreements. MIT conducts research

under 469 grants and 19 cooperative agreements from NSF that are currently active for the 2025

fiscal year. These awards involve 322 unique principal investigators. The on-campus facilities

and administrative rate applicable to NSF awards for MIT’s 2025 fiscal year, as negotiated with

the Office of Naval Research, is 59.0%. When fully implemented, MIT estimates that NSF’s

proposed cap of 15% for indirect cost recovery would result in a projected $18 million loss



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annually to MIT’s planned research budget, assuming fiscal year 2024 levels of NSF-funded

campus modified total direct cost. MIT intends to apply for new funding awards in the next year

and in future years to come.

       27.     Plaintiff Regents of the University of Michigan (“Michigan”) is the governing

body of the University of Michigan, a public university located in Ann Arbor, Michigan. In the

2024 fiscal year, Michigan received $169 million in NSF funding—approximately $119 million

allocated for direct costs and $50 million for indirect costs. Through the 2025 fiscal year,

Michigan’s predetermined indirect cost rate is 56%. If—contrary to what Michigan has

negotiated with the federal government—the indirect cost rate is reduced to 15%, that reduction,

if applied to Michigan’s entire NSF portfolio over the next five years, would reduce Michigan’s

anticipated annual indirect cost recovery by $36 million. Michigan intends to apply for new

funding awards, and/or renewals and continuations of existing funding awards, in the next year

and in future years to come.

       28.     Plaintiff Regents of the University of Minnesota (“Minnesota”) is the governing

body of the University of Minnesota, an institution of higher learning established by the

Territorial Laws of the State of Minnesota and perpetuated by the Minnesota Constitution as a

constitutional corporation. Minnesota holds 543 active direct NSF grant and cooperative

agreement awards valued at more than $387 million in total costs, including $291 million in direct

costs and $96 million in indirect costs; Minnesota serves as a partner to other NSF recipients via

81 subawards with an additional $25 million in funding. Minnesota’s predetermined indirect cost

rate through fiscal year 2028 is 54% for on-campus organized research. If—contrary to what

Minnesota has negotiated with the federal government—the indirect cost rate was reduced to

15%, that would significantly reduce Minnesota’s anticipated annual indirect cost recovery. For



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example, applying the 15% rate to the anticipated modified direct costs over the next five years

would result in an increasingly greater reduction each year, ultimately estimated to be at least

$21.1 million to $8.3 million in year five. Minnesota intends to apply for new funding awards,

and/or renewals and continuations of existing funding awards, in the next year and in future years

to come.

       29.     Plaintiff University of Pennsylvania (“Penn”) is a private university located in

Philadelphia, Pennsylvania. In the 2024 fiscal year, Penn’s research expenditures were more than

$73.3 million on NSF funded projects. There were 132 projects on grants supported by the NSF,

with an awarded value of $47,467,560, and an additional 4 cooperative agreements with an

awarded total value of $28,374,494. Through the 2027 fiscal year, the predetermined indirect

cost rate for Penn is 62.5% for on-campus research. NSF’s planned cap of 15% for indirect cost

expenditures would result in an over $10 million-dollar loss annually to Penn’s planned research

budget. Penn intends to apply for new funding awards, and/or renewals and continuations of

existing funding awards, in the next year and in future years to come.

       30.     Plaintiff The Trustees of Princeton University (“Princeton”) is the formal legal

name of Princeton University, a private university located in Princeton, New Jersey. Princeton

is a world-class research institution that aims to unite people, resources, and opportunities for the

creation, preservation, and transmission of knowledge for the benefit of the nation and humanity.

In the 2024 fiscal year, Princeton expended approximately $79 million in conducting research

supported by NSF. Of this total, approximately $20.5 million were expended as indirect costs to

support needs such as the infrastructure, research administration, compliance, and security

expenses required to conduct the funded research. Princeton’s negotiated on-campus indirect

cost rate for fiscal year 2025 is 64%. Princeton intends to apply for new funding awards, and/or



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renewals and continuations of existing funding awards, in the next year and in future years to

come. Princeton would therefore lose substantial dollars if Princeton’s predetermined indirect

cost rates were reduced to 15%.

       31.     Defendant National Science Foundation (“NSF”) is an independent agency of the

federal government that supports fundamental research and education in all the non-medical

fields of science and engineering.

       32.     Defendant Brian Stone is the Acting Director of NSF. He is sued in his official

capacity.

                                 FACTUAL BACKGROUND

   A. NSF’s Grants And Cooperative Agreements.

       33.     For decades, NSF-funded research at universities has made the United States a

world leader in science.     The federal government awards billions of dollars to research

universities that can most effectively further NSF’s goals. In fiscal year 2023, NSF awarded

nearly $6.7 billion to over 621 universities.

       34.     NSF awards have funded scientific research that has led to innumerable scientific

breakthroughs, including the creation of 3D printing and major developments in artificial

intelligence (“AI”). Two hundred sixty-eight NSF-supported scientists have earned Nobel Prizes

for their groundbreaking scientific work. 4

       35.     Most NSF-funded research occurs at outside institutions, including universities,

nonprofit institutions, tribal nations, for-profit organizations, and state and local governments.

This approach allows NSF to fund a wide array of institutions, promote competition for research



4 U.S. Nat’l Sci. Found., NSF Continues Strong Legacy with Nobel Prize Winners, U.S. Nat’l

Sci. Found., https://www.nsf.gov/science-matters/nsf-continues-strong-legacy-nobel-prize-
winners.

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grants and cooperative agreements, and facilitate the training of the next generation of

researchers.

       36.     In fiscal year 2023, NSF’s total research and development (“R&D”) expenses

were roughly $7,490,000,000. Of that, roughly $6,048,000,000 went to institutions of higher

education, while the rest went to other recipients. This means that over 80% of NSF’s total R&D

obligations went to institutions of higher education. 5

       37.     NSF pursues its research goals by funding the critical scientific research of the

organizational Plaintiffs’ member universities and the university Plaintiffs. At any given time,

individual research universities often depend on myriad NSF awards that support independent

research projects across multiple university departments and centers.

   B. The Indirect Cost System Structure

       38.     These NSF awards are issued pursuant to a well-established legislative and

regulatory framework. Congress has authorized NSF to provide for grants and other forms of

assistance under various statutes, e.g., 42 U.S.C. § 1862(a), and it has authorized agencies to use

“predetermined fixed-percentage rates” for “payment of reimbursable indirect costs,” see 41

U.S.C. § 4708. Congress also instructed OMB to issue general guidance on fiscal administration

issues. See 31 U.S.C. § 503(a), (b)(2)(C) (empowering OMB to “establish governmentwide

financial management policies for executive agencies,” including as to “grant[s]”). In turn, OMB

has established uniform guidance for agencies to administer grants and cooperative agreements

under the agencies’ purview. See 2 C.F.R. pt. 200 (setting forth “Uniform Administrative



5 Nat’l Ctr. for Sci. & Eng’g Statistics, Survey of Federal Funds for Research and Development

(2023-2024), https://ncses.nsf.gov/surveys/federal-funds-research-development/2023-
2024#tableCtr13393 (Table 7: “Federal obligations for research and experimental development,
by agency and performer”); see also id. (Table 21: “Federal obligations for research, by agency
and performer”).

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Requirements, Cost Principles, and Audit Requirements for Federal Awards”). NSF has

expressly adopted OMB’s guidance into its own regulations. See 2 C.F.R. § 2500.100 (adopting

OMB guidance in 2 C.F.R. pt. 200).

       39.     As provided by regulation, NSF’s competitive grantmaking process begins with a

notice of funding opportunities for a specific topic followed by new application submissions. See

2 C.F.R. § 200.204.

       40.     After a formal review process that includes peer review, NSF issues a legally

binding Notice of Award (“NOA”) to selected grant recipients stating that funds may be requested

(i.e., drawn down) from the agency. See 2 C.F.R. § 200.211(b)(7) (establishing that the award

must include the “[a]mount of [f]ederal [f]unds [o]bligated by this [a]ction”). An NOA is issued

for the initial budget period and each subsequent budget period. See 2 C.F.R. § 200.211(c)(1)(iv).

       41.     Federal grant recipients generally do not receive lump-sum grants. Instead, they

use cost-based accounting systems under which they first incur expenses and then recover their

actual, documented costs for conducting research.

       42.     The costs of conducting NSF-funded research come in two types. The first is

“direct costs”—costs that can be attributed to a specific research project. For example, the salary

of a graduate student assigned to a particular research project, or the cost of a specialized piece

of equipment purchased for a research project is a direct cost.

       43.     The second is “indirect costs”—costs that are necessary for research but that

support multiple research projects.

       44.     “[I]ndirect costs” are comprised of “[f]acilities” and “[a]dministration” costs. 2

C.F.R. § 200.414(a). The “[f]acilities” category is “defined as depreciation on buildings,

equipment and capital improvements, interest on debt associated with certain buildings,



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equipment and capital improvements, and operations and maintenance expenses.” Id. This

category includes the costs of construction of physical equipment and building infrastructure and

maintenance of that infrastructure necessary for carrying out federally funded research, including

highly specialized facilities and laboratories. Those costs are indirect because a single building,

such as a state-of-the-art nuclear facility, might house numerous research groups engaged in

multiple distinct projects. Facilities costs typically account for the largest share of indirect costs.

        45.     The “[a]dministration” category is defined as “general administration and general

expenses such as the director’s office, accounting, personnel, and all other types of expenditures

not listed specifically under one of the subcategories of ‘Facilities.”’ Id. This category includes

costs related to the administrative and compliance activities required to conduct federally

sponsored research, such as compliance activities like Institutional Review Boards required for

research involving human subjects, information technology professionals, experts on safety and

security, technical staff, and many others. These costs are indirect because a single employee or

group of employees will handle these necessary administrative activities across multiple NSF

awards. Because of caps on administrative costs, moreover, universities contribute a significant

amount of their own funds to cover such costs, thereby subsidizing the work funded by grants

and cooperative agreements.

        46.     Federal regulations require research institutions to express their indirect costs as a

rate that is multiplied by the overhead-bearing direct costs of each individual research grant

associated with those costs. See Appendix III to Part 200—Indirect (F & A) Costs Identification

and Assignment, and Rate Determination for Institutions of Higher Education (IHEs). This

methodology ensures that indirect costs are allocated fairly across supported projects, with the

more expensive and resource-intensive research projects being allocated a larger share of indirect



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costs. As a simplified example, suppose a single laboratory houses two research projects—one

with $75,000 of annual overhead-bearing direct costs and one with $25,000 of annual overhead-

bearing direct costs. Suppose, too, that the laboratory’s sole indirect cost is the cost of electricity,

which costs $10,000 per year. Because the cost of electricity ($10,000) is 10% of the overhead-

bearing direct costs ($100,000), the indirect cost rate would be 10%. Thus, $7,500 of electricity

costs would be allocated to the first project, and $2,500 of electricity costs would be allocated to

the second project.

        47.     Federal regulations prescribe a detailed methodology for negotiating indirect cost

rates. See Appendix III to Part 200. Typically, a single agency negotiates an indirect cost rate

with an institution. For universities, rates are generally negotiated by either “the Department of

Health and Human Services (HHS) or the Department of Defense’s Office of Naval Research

(DOD), normally depending on which of the two agencies (HHS or DOD) provide[d] more funds

directly to the [relevant] educational institution for the most recent three years.” 2 C.F.R. pt. 200,

app. III(C)(11)(a)(1).

        48.     That indirect cost rate then applies to all of that institution’s grants and cooperative

agreements across the entire federal government. Federal regulations require institutions to

conduct and submit to their federal agency comprehensive cost analyses that follow detailed

federal cost accounting guidelines governing reasonable and allowable indirect costs. For

example, if an institution seeks to recover the cost of building maintenance related to federal

research support, it must document those costs and then allocate those maintenance costs across

research and non-research programs.




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        49.     The federal agency then reviews and verifies these proposals and determines the

institution’s indirect cost rate based on its judgment of which rate reflects actual, verified costs

incurred by the institution.

        50.     Typically, the negotiated rates remain in effect for two to four years.

        51.     After the costs are incurred, federal agencies conduct audits to ensure that the

negotiated indirect cost rate conforms to the actual indirect costs that were incurred. The indirect

cost rate can be adjusted if the audit establishes that the institution has recovered excess costs.

        52.     Negotiated rates vary significantly from institution to institution. The primary

reason for this variation is that different institutions conduct different types of research. Scientific

laboratories tend to be far more expensive to build and maintain than generic office buildings.

As such, an institution engaging in cutting-edge physics research will likely have a higher indirect

cost rate than an institution primarily engaged in social science research. Even in the context of

scientific research, some types of research are more expensive than others. If a particular

institution invests in an expensive piece of advanced lab equipment that supports multiple lines

of research, that institution will have higher indirect cost rates than a different institution that

does not use expensive lab equipment or uses such equipment for only one research project.

        53.     Institutions with higher-than-average negotiated indirect cost rates are typically

those that support facility-intensive types of research. State of the art nuclear, energy and

computing research (including AI and quantum computing), for example, often requires higher

indirect cost rates. Past studies show that indirect cost rates for university research are slightly

less than those for other research entities, i.e., that universities had the lowest percentage of total

research costs classified as indirect costs as compared to federal and industrial laboratories. 6


6 Ass’n of Am. Univs., Frequently Asked Questions About Facilities and Administrative (F&A)

Costs of Federally Sponsored University Research (Feb. 10, 2025), https://www.aau.edu/key-

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       54.     The “[n]egotiated indirect cost rates must be accepted by all Federal agencies”

unless a deviation therefrom “for either a class of Federal awards or a single Federal award” is

“required by Federal statute or regulation” or is “approved by the awarding Federal agency in

accordance with [2 C.F.R. § 200.414(c)(3)].” 2 C.F.R. § 200.414(c)(1).

       55.     The cross-referenced provision, 2 C.F.R. § 200.414(c)(3), in turn makes clear that

the negotiated rates remain the baseline and that it authorizes only specific “deviations” for

individual awards or classes of awards when specified criteria are met. In particular, that

provision specifies that “[t]he Federal agency must implement, and make publicly available, the

policies, procedures and general decision-making criteria that their programs will follow to seek

and justify deviations from negotiated rates.” 2 C.F.R. § 200.414(c)(3).

       56.     Pursuant to 2 C.F.R. § 200.414(c)(4), “[t]he Federal agency must include, in the

notice of funding opportunity, the policies relating to indirect cost rate reimbursement or cost

share as approved.” Moreover, “the Federal agency should incorporate discussion of these

policies into its outreach activities with applicants before posting a notice of funding

opportunity.” Id.

   C. Congress’s Refinements Of The Indirect Cost Structure And NSF’s Response.

       57.     Congress has been active in determining what proportion of research costs

universities should bear and when agencies may use fixed rates to approximate indirect costs. In

1962, as explained above, Congress authorized the use of “predetermined fixed-percentage rates”

for “payment of reimbursable indirect costs” attributable to research agreements with educational

institutions. Act of Sept. 5, 1962, Pub. L. No. 87-638, 76 Stat. 437, codified at 41 U.S.C. § 4708.

This authorization was essential because, in 1956, the Comptroller General issued an opinion



issues/frequently-asked-questions-about-facilities-and-administrative-costs.

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disallowing the “payment of overhead based on a stipulated percentage of direct labor or other

costs . . . in lieu of reimbursement of the actual costs of overhead.” 35 Comp. Gen. 434 (1956).

       58.     Shortly thereafter, Congress imposed a 20% cap on the amount of indirect costs

that agencies could reimburse. Independent Offices Appropriation Act, 1965, Pub. L. No. 88-

507, § 303, 78 Stat. 640, 666 (1964); see Independent Offices Appropriation Act, 1963, Pub. L.

No. 87-742, § 304, 76 Stat. 716, 740 (1962). But just a few years later, Congress lifted that cap

and replaced it with more general language indicating that “[n]one of the funds provided herein

shall be used to pay any recipient of a grant for the conduct of a research project an amount equal

to as much as the entire cost of the project”—in short, requiring at least some cost sharing.

Independent Offices Appropriation Act, 1966, Pub. L. No. 89-128, § 303, 79 Stat. 520, 543

(1965). In 2005, Congress eliminated even that more general requirement.

       59.     In the wake of these congressional actions, NSF until now has created policies that

sought to carefully follow the lead that Congress by statute had set. For example, NSF’s Proposal

and Award Policies and Procedures Guide—which is cross-referenced in NSF’s regulations

implementing OMB’s uniform guidance, see 2 C.F.R. § 2500.100—specifies that “it is NSF

policy that recipients are entitled to reimbursement from award funds for indirect costs” pursuant

to the recipients’ “current Federally negotiated indirect cost rate agreement.” NSF, Proposal and

Award Policies and Procedures Guide X-5 (effective May 20, 2024) (“Award Guide”),

https://nsf-gov-resources.nsf.gov/files/nsf24_1.pdf.

       60.     The Award Guide also narrowly limits “[m]andatory cost sharing”—which means

that a recipient must cover part of the cost of the research. Id. at II-21. “Mandatory cost sharing

will only be required for NSF programs when explicitly authorized by the NSF Director, the NSB,

or legislation.” Id. The Award Guide further states that “[e]xcept where specifically identified



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in an NSF program solicitation, the applicable U.S. Federally negotiated indirect cost rate(s) must

be used in computing indirect costs (F&A) for a proposal. Use of an indirect cost rate lower than

the organization’s current negotiated indirect cost rate is considered a violation of NSF’s cost

sharing policy.” Id. at II-20 (emphasis added).

       61.     The NSF’s cost sharing policy—which appears to have recently disappeared from

NSF’s website—states that “[m]andatory programmatic cost sharing will rarely be approved for

an NSF program,” and that “[a]ny program that would like to request consideration of mandatory

programmatic cost sharing requirement in an NSF solicitation must develop a compelling

justification regarding why non-Federal financial support and commitment is considered

foundational to programmatic success.” NSF, Implementation of the 2nd NSB Cost Sharing

Report: NSF Revised Cost Sharing Policy Statement, https://web.archive.org/web/20250307

184941/https://www.nsf.gov/bfa/dias/policy/csdocs/principles.pdf

    D. Recent Attempts By The Executive Branch To Limit Indirect Cost Rates.

       62.     In 2017, the Administration released a budget proposal that would have slashed

the indirect cost rate for NIH grants to 10%. See Office of Management & Budget, Major Savings

and Reforms: Budget of the U.S. Government Fiscal Year 2018, at 43 (2017), https://www.gov

info.gov/content/pkg/BUDGET-2018-MSV/pdf/BUDGET-2018-MSV.pdf.

       63.     The proposal spurred widespread and bipartisan criticism and alarm. Congress

then enacted, on a bipartisan basis, an appropriations rider providing that regulatory “provisions

relating to indirect costs . . . including with respect to the approval of deviations from negotiated

rates, shall continue to apply to the National Institutes of Health to the same extent and in the

same manner as such provisions were applied in the third quarter of fiscal year 2017.”

Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, § 226, 132 Stat. 348, 740. The

appropriations rider also prohibits spending appropriated funds “to develop or implement a

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modified approach to” the reimbursement of “indirect costs” and “deviations from negotiated

rates,” or to “intentionally or substantially expand the fiscal effect of the approval of such

deviations from negotiated rates beyond the proportional effect of such approvals in such

quarter.” Id.

       64.      The House Report noted that, “[w]hile the Committee appreciates the Secretary’s

efforts to find efficiencies in NIH research spending, the Administration’s proposal to

dramatically reduce and cap reimbursement of facilities and administrative (F&A) costs to

research institutions is misguided and would have a devastating impact on biomedical research

across the country.” H.R. Rep. No. 115-244, at 50. The Senate Report noted, “[t]he methodology

for negotiating indirect costs has been in place since 1965, and rates have remained largely stable

across NIH grantees for decades. The Administration’s proposal would radically change the

nature of the Federal Government’s relationship with the research community, abandoning the

Government’s long-established responsibility for underwriting much of the Nation’s research

infrastructure, and jeopardizing biomedical research nationwide. The Committee has not seen

any details of the proposal that might explain how it could be accomplished without throwing

research programs across the country into disarray.” S. Rep. No. 115-150, at 109.

       65.      Congress has repeatedly reenacted the rider ever since. See Department of

Defense and Labor, Health and Human Services, and Education Appropriations Act, 2019 and

Continuing Appropriations Act, 2019, Pub. L. No. 115-245, § 224, 132 Stat. 2981, 3094; Further

Consolidated Appropriations Act, 2020, Pub. L. No. 116-94, § 224, 133 Stat. 2534, 2582 (2019);

Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, § 224, 134 Stat. 1182, 1594 (2020);

Consolidated Appropriations Act, 2022, Pub. L. No. 117-103, § 224, 136 Stat. 49, 470-71;

Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, § 224, 136 Stat. 4459, 4883-84



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(2022). And this rider remains in effect to this day, in the now-operative statute. See Further

Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit. II, § 224, 138 Stat. 460,

677.

       66.     The negotiated NIH indirect cost rates remained undisturbed until late on Friday,

February 7, 2025, when NIH issued a Supplemental Guidance to the 2024 NIH Grants Policy

Statement: Indirect Cost Rates (“NIH Rate Change Notice”). NIH purported to cap previously

negotiated indirect cost rates on all existing and future grant awards for biomedical research, with

an effective date of February 10, 2025. Three groups—a group of 22 states, a group of five

medical associations, and a group of 17 higher education associations and individual universities,

including some of the plaintiffs in this case—filed complaints and motions for temporary

restraining orders. Following briefing, the Court issued a nationwide preliminary injunction on

March 5, 2025. NIH, 2025 WL 702163, at *1. The Court held that the dispute was justiciable;

that the plaintiffs were likely to succeed on their arguments that the NIH Rate Change Notice

violated the applicable regulations, the appropriations rider, and the APA’s reasoned-

decisionmaking requirements; that the plaintiffs demonstrated irreparable harm; and that the

balance of the equities and public interest favored an injunction. The parties then jointly moved

to convert the preliminary injunction to a permanent injunction. See NIH, No. 25-CV-10338 (D.

Mass. Apr. 4, 2025), ECF No. 96. The government has not moved for a stay pending appeal.

       67.     Despite this decision, on April 11, 2025, the DOE announced its own policy almost

identical to the one the NIH promulgated in February. The policy declared that the DOE “will no

longer use the negotiated indirect cost rate” for universities, instead “setting a standardized 15

percent indirect cost rate for all grant awards.” DOE, Policy Flash: Adjusting Department of

Energy Grant Policy for Institutions of Higher Education (IHE), supra. DOE also stated that it



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was “undertaking action to terminate all grant awards to [universities] that do not conform with

this updated policy.” Id. Faced with losing either a significant portion or all their grant funding,

nine universities and three associations representing universities challenged the DOE policy under

the APA. The universities and associations filed a motion for a temporary restraining order, which

a federal district court granted on April 16, 2025, to prevent immediate and irreparable harm. AAU,

2025 WL 1119791, at *1. The parties filed further briefing on the motion for the temporary

restraining order, and the court held a hearing on the motion on April 28, 2025. The temporary

restraining order remains in place pending further order of the court.

   E. NSF’s New Rate Cap Policy.

       68.     On Friday, May 2, 2025, NSF issued its Rate Cap Policy, titled “Implementation

of Standard 15% Indirect Cost Rate.” The Rate Cap Policy announces that NSF “is updating its

policy regarding the reimbursement of indirect costs in federally funded financial assistance,”

and that “[e]ffective May 5, 2025, NSF will apply a standard indirect cost rate not to exceed 15%

to all grants and cooperative agreements awarded to IHEs for which indirect costs are allowable.”

Ex. A (footnote omitted). Although framed as a “maximum,” the 15% cap is in fact vastly lower

than universities’ negotiated indirect cost rates and is thus in substance an across-the-board 15%

mandate.

       69.     The Rate Cap Policy provides that “[t]he 15% rate maximum applies only to new

awards made to IHEs on or after May 5, 2025,” and that “NSF funding opportunities issued after

May 5, 2025, will include notice of this indirect cost rate policy.” Id. (emphasis omitted).

       70.     The Rate Cap Policy purports to rely on the authority of 2 C.F.R. § 200.414(c) for

its setting of a single, uniform indirect cost rate maximum of 15% for all institutions of higher

education.



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          71.   The Rate Cap Policy is a final agency action under the APA. See 5 U.S.C. § 704.

The Rate Cap Policy: (1) “mark[s] the consummation of the agency’s decisionmaking process,”

and (2) is action “by which rights or obligations have been determined, or from which legal

consequences will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (internal quotation marks

omitted). In particular, the Rate Cap Policy marks the consummation of NSF’s decision-making

process because it announces NSF’s decision to immediately impose a 15% across-the-board

indirect cost rate maximum to institutions of higher education. And the Rate Cap Policy is an

action by which rights or obligations have been determined or from which legal consequences

will flow because it purports to limit the percent of indirect costs for which a grant recipient can

be reimbursed under the grant.

                                     CLAIMS FOR RELIEF

                                              Count I

                Violation of Administrative Procedure Act—Contrary to Law

                               (Violation of Authorizing Statutes)

          72.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          73.   The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

          74.   NSF has congressionally delegated authority to award research funds pursuant to

42 U.S.C. § 1862. Specifically, Congress has “authorized and directed” NSF to “initiate and

support basic scientific research and programs to strengthen scientific research potential.” 42

U.S.C. § 1862(a). Congress has further authorized NSF to “initiate and support scientific and

engineering research, including applied research, at academic and other nonprofit institutions.”



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Id. § 1862(c). Congress made clear that “[i]n exercising the authority and discharging [these]

functions,” one of NSF’s “objectives” “shall be . . . to strengthen research and education in the

sciences and engineering, including independent research by individuals, throughout the United

States.” Id. § 1862(e). In addition, NSF is required by statute to create and carry out programs

to award funds for particular types of research, including “research leading to transformative

advances in manufacturing technologies,” id. § 1862p-1(a), and “research into green and

sustainable chemistry,” id. § 1862p-3.

       75.     Congress has authorized “predetermined fixed-percentage rates” for “payment of

reimbursable indirect costs” attributable to research agreements with educational institutions like

those contemplated by NSF’s authorizing statutes as described in the foregoing paragraphs. Act

of Sept. 5, 1962, Pub. L. No. 87-638, 76 Stat. 437, codified at 41 U.S.C. § 4708.

       76.     Congress has not authorized NSF to adopt a categorical rate cap that arbitrarily

sets a 15% maximum regardless of actual indirect costs.

       77.     The Rate Cap Policy violates 41 U.S.C. § 4708 because it imposes a

“predetermined fix-percentage rate[]” that does not attempt to approximate actual “reimbursable

indirect costs.”

       78.     The Rate Cap Policy exceeds NSF’s statutory authority by reimposing, in more

severe form, a categorical cap on indirect costs that Congress specifically eliminated in 1965 and

has declined to reenact ever since.

       79.     The Rate Cap Policy violates the governing statutes by replacing the tailored

process Congress has created by statute with a categorical, one-size-fits-all cap. The Supreme

Court has underscored that agencies may not enact sweeping rules of this sort without express

congressional authorization. In considering whether agency action is authorized by statute, courts



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consider whether the “‘history and the breadth of the authority that [the agency] has asserted’”

and the “‘economic and political significance’ of that assertion” counsel in favor of “‘hesitat[ing]

before concluding that Congress’ meant to confer such authority.” West Virginia v. EPA, 597

U.S. at 721 (quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159-60 (2000),

superseded by statute as stated in FDA v. Wages & White Lion Invs., L.L.C., 145 S. Ct. 898

(2025)); see also MCI Telecomms. Corp., 512 U.S. 218. In Biden v. Nebraska, 600 U.S. 477

(2023), for example, the Court held that the government could not use a tailored waiver authority

to wipe out student loans wholesale and so “unilaterally alter large sections of the American

economy.” Id. at 507. Likewise here, no statute expressly authorizes NSF to depart from the

tailored approach Congress has created to devastate the very research NSF has been authorized—

and indeed required—to promote and fund.

          80.   Because Congress did not expressly authorize NSF to make this unilateral change,

the Rate Cap Policy is invalid.

                                             Count II

                Violation of Administrative Procedure Act—Contrary to Law

     (Illegal Departure from Negotiated Cost Rates in Violation of 2 C.F.R. 200.414)

          81.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          82.   The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

          83.   2 C.F.R. § 200.414(c)(1) states that negotiated indirect cost rates “must be

accepted by all Federal agencies. A Federal agency may use a rate different from the negotiated

rate for either a class of Federal awards or a single Federal award only when required by Federal



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statute or regulation, or when approved by the awarding Federal agency in accordance with

paragraph (c)(3) of this section.”

       84.     In turn, 2 C.F.R. § 200.414(c)(3) states: “The Federal agency must implement, and

make publicly available, the policies, procedures and general decision-making criteria that their

programs will follow to seek and justify deviations from negotiated rates.”

       85.     By pronouncing a single, uniform “policy” setting an indirect cost rate maximum

for universities at 15% regardless of the otherwise applicable negotiated rate, NSF violated 2

C.F.R. § 200.414(c)(1) and (c)(3).

       86.     First, these provisions authorize agencies to announce procedures governing

subsequent decisions to make individualized deviations from the baseline negotiated rate. They

do not authorize NSF to make a unilateral decision to impose an arbitrary cap on the rate

applicable to all universities that does not attempt to approximate actual indirect costs.

       87.     Second, these regulations authorize deviations for “either a class of Federal

awards or a single Federal award.” 2 C.F.R. § 200.414(c)(1). The Rate Cap Policy jettisons

negotiated rates for a class of recipients—universities—and not a class of awards. Moreover,

even if the regulations permitted deviations for a “class of Federal award[] [recipients],” the Rate

Cap Policy would violate this limit because it applies to universities that collectively account for

over 80% of NSF’s total R&D obligations.

       88.     Third, Section 200.414(c)(3) authorizes “deviations” from negotiated rates.

Authority to provide for “deviations” does not empower NSF to eliminate the standard use of

negotiated rates across broad swathes of institutions; rather, negotiated rates must remain the

norm, with deviations just narrow exceptions. Cf. MCI Telecomms. Corp., 512 U.S. at 228-29




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(holding that statutory authority to “modify” a requirement “does not contemplate fundamental

changes”); Biden v. Nebraska, 600 U.S. at 494-95 (similar).

          89.   Fourth, insofar as NSF applies the Rate Cap Policy to new awards issued after

May 5, 2025, for which the notice of funding opportunity did not identify the departure from the

negotiated rate, the Policy violates Section 200.414(c)(4).

                                             Count III

                Violation of Administrative Procedure Act—Contrary to Law

                     (Illegal Departure from Cost Recovery Regulations)

          90.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          91.   The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

          92.   Federal regulations and decades of Executive Branch practice establish

substantive and procedural guidelines governing the recovery of indirect costs, which NSF’s Rate

Cap Policy blatantly violates.

          93.   Substantively, the governing regulations dictate that grantees will recover the

actual indirect costs that are reasonable and allocable to federal projects. The bedrock principle

is: “The total cost of a Federal award is the sum of the allowable direct and allocable indirect

costs minus any applicable credits.” 2 C.F.R. § 200.402. The regulations establish detailed

guidelines designed to ensure that grantees recover their actual allocable indirect costs. See

generally 2 C.F.R. § 200.414; accord 2 C.F.R. pt. 200, app. III(A) (“Indirect (F&A) costs are

those that are incurred for common or joint objectives and therefore cannot be identified readily

and specifically with a particular sponsored project, an instructional activity, or any other

institutional activity”); 2 C.F.R. pt. 200, app. III(A)(2)(e)(1) (“Indirect (F&A) costs are the broad

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categories of costs discussed in Section B.1.”). By slashing indirect cost rates to 15% without

regard to whether that percentage tracks actual indirect costs, NSF violated the regulations.

        94.     Procedurally, federal regulations prescribe a complex process for negotiating an

indirect cost recovery rate. Institutions must document and submit costs in painstaking detail to

support that process. Subpart E of part 200 of Title 2 “establishes principles for determining

allowable costs incurred by recipients and subrecipients under Federal awards.” 2 C.F.R.

§ 200.100(c). 2 C.F.R. § 200.414(e) stipulates that a set of appendices will set forth in detail

“[r]equirements for development and submission of indirect cost rate proposals and cost

allocation plans.” Those appendices contain “the documentation prepared by a recipient to

substantiate its request to establish an indirect cost rate.” 2 C.F.R. § 200.1 (definition of “Indirect

cost rate proposal”). For universities, Appendix III to Part 200 establishes the criteria for

identifying and computing indirect facilities and administration costs for Institutions of Higher

Education (IHEs). Id. § 200.414(e)(1). The Appendix details the processes for a grant recipient

to document a significant range of costs and how those costs should be allocated among multiple

government projects. Audits are the mechanism then used to determine what is charged to a

federal award. 2 C.F.R. § 200.501(b) requires that a “non-Federal entity that expends $1,000,000

or more in Federal awards during the non-Federal entity’s fiscal year must have a single audit

conducted in accordance with § 200.514,” except if it elects to have a program-specific audit.

This audit is performed annually, and it must be conducted in accordance with articulated

standards. See 2 C.F.R. §§ 200.504, 200.514. An auditor may identify any “[q]uestioned cost,”

which is defined as “an amount, expended or received from a Federal award, that in the auditor’s

judgment:” (1) “[i]s noncompliant or suspected noncompliant with Federal statutes, regulations,

or the terms and conditions of the Federal award;” (2) “[a]t the time of the audit, lacked adequate



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documentation to support compliance;” or (3) “[a]ppeared unreasonable and did not reflect the

actions a prudent person would take in the circumstances.” 2 C.F.R. § 200.1 (definition of

“Questioned cost”). The results of the audit and any questioned costs are factored into negotiation

of indirect cost rates. See Appendix III to Part 200.

          95.   NSF ignored that detailed process. Instead, it arbitrarily determined that all

universities would recover at most a 15% rate, violating the regulations’ substantive commands

and rendering that entire regulatory process meaningless.

                                             Count IV

          Violation of the Administrative Procedure Act – Arbitrary and Capricious

          96.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          97.   The APA provides that courts “shall . . . hold unlawful and set aside agency action”

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A).

          98.   The Rate Cap Policy is arbitrary and capricious for many reasons, including the

following.

          99.   First, NSF’s justification is conclusory and violates NSF’s obligation to

“examine[] ‘the relevant data’ and articulate[] ‘a satisfactory explanation’ for [the] decision,

‘including a rational connection between the facts found and the choice made.’” Dep’t of Com.

v. New York, 588 U.S. 752, 773 (2019) (quoting Motor Vehicle Mfrs. Ass’n of United States, Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). One, the Policy says it “reduce[s]

administrative burdens for awardee institutions,” ignoring that institutions must still negotiate

indirect cost rate agreements with other agencies, that NSF and other agencies must still negotiate



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such agreements with non-university recipients, and that—in all events—slashing indirect cost-

rates to a flat 15% imposes harms on awardees that vastly outweigh any reduced administrative

burden. Ex. A. Two, the Policy says it “[e]nsures consistent treatment of all IHE financial

assistance recipients,” ignoring that the negotiated-rate process does treat universities

consistently by tailoring indirect cost rates to actual indirect costs, that the Policy creates

inconsistency by treating institutions with very different research portfolios the same, and that

the Policy irrationally disfavors universities by capping their indirect cost rates when

nonuniversity recipients seeking the very same awards may receive higher rates. Id. Three, the

Policy says it “[i]ncrease[es] the proportion of federal funds allocated to direct research costs”

and “ensure[s] that more resources are directed toward direct scientific and engineering research

activities,” ignoring that indirect costs are necessary for research to take place and often differ

from direct costs only in that they fund multiple research projects. Id. The Policy also says it

“align[s] with common federal benchmarks,” apparently referring to the 15% “de minimis” rate

in 2 C.F.R. § 200.414(f)—arbitrarily applying a rate for institutions that have not offered

“documentation to justify” a particular rate to institutions that have documented substantially

higher rates.

       100.     Second, the Rate Cap Policy is arbitrary and capricious because it ignores obvious

problems with its categorical 15% cap. The Policy does not provide a rationale for subjecting

different institutions to a single uniform rate that ignores actual indirect costs, does not

acknowledge that indirect costs are critical to supporting and maintaining world-class research,

and ignores how imposing a categorical 15% rate cap will devastate research nationwide and

will—in so doing—thwart the goals that NSF by statute must pursue. Moreover, an across-the-

board 15% rate cap amounts to a decision to fund only some of the costs of research NSF supports,



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and ultimately amounts simply to a decision to fund less research of particular types—including

research that relies heavily on unique, expensive facilities and specially skilled staff, as cutting-

edge research often does. NSF’s failure to acknowledge these obvious problems is especially

egregious because the Rate Cap Policy ignores Congress’s on-point actions and statements: Not

only did Congress expressly reject categorical caps in 1965 and 2017, but the reasons that

Congress did so apply equally to NSF’s categorical cap.

       101.    Third, the Rate Cap Policy is arbitrary and capricious because it ignores the

reliance interests of the research institutions receiving federal funding and does not provide an

explanation that accounts for those reliance interests. Typical indirect cost rates negotiated with

the government by research universities range from 50% to 65%. The Rate Cap Policy thus

slashes indirect cost recovery by up to three quarters. Universities have structured their budgets

on the understanding that federal agencies will pay their legally required cost reimbursements

according to the longstanding practice of using negotiated indirect costs and rates. Universities

have accordingly made costly decisions about long-term investments, such as what physical

infrastructure should be built, in reliance on negotiated rates with federal agencies, as well as the

OMB regulations generally requiring agencies to use a negotiated indirect cost rate and permitting

deviations from that rate only in narrowly limited circumstances.

       102.    Fourth, the Rate Cap Policy departs without acknowledgment or explanation from

NSF’s policy on mandatory cost sharing. NSF has narrowly limited mandatory cost sharing,

recognizing the problems that cost sharing creates. For example, when NSF imposes cost-

sharing, it fails to fund the full costs of the research it sponsors in a manner that NSF has

acknowledged is rarely appropriate. And cost sharing favors certain applicants over others for

reasons unrelated to their ability to effectively carry out the research. Moreover, NSF has long



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acknowledged that limits on reimbursement of indirect costs are in effect mandatory cost-

sharing. The Rate Cap Policy does not acknowledge how it conflicts with NSF’s policy on

mandatory cost sharing or the judgments underlying that policy.

       103.     Fifth, the Rate Cap Policy is arbitrary and capricious because it reflects a new

policy resting upon factual findings that contradict those which underlay the prior policy of OMB

and NSF and that are also wrong. The prior policy rested on the view that a uniform indirect cost

rate maximum was not appropriate, and that negotiated rates should be both institution-specific

and—in most cases—substantially higher. The Rate Cap Policy provides no explanation for this

reversal in course.

       104.     Sixth, the Rate Cap Policy is arbitrary and capricious because NSF fails to explain

why its own audits of indirect costs would not accomplish the task of “improv[ing] government

efficiency.” Ex. A. To the contrary, because audits look at specific costs, they can accomplish

what NSF’s indiscriminate policy cannot—identifying specific costs that can be appropriately

curtailed.

       105.     Seventh, the Rate Cap Policy is arbitrary and capricious because, without

explanation, it imposes its new categorical 15% cap only on universities, and not on other NSF

grant recipients. If (counterfactually) this categorical cap improved efficiency or reflected

responsible stewardship of federal funds, NSF does not explain why it imposed that policy on

only universities. This failure is especially irrational because universities and other institutions

often seek the same NSF awards, and yet the Rate Cap Policy applies only to university awardees.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray for the following relief:

             a. Expedited resolution of this action to prevent harm to Plaintiffs;



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  b. Vacatur of the Rate Cap Policy;

  c. Declaratory judgment finding the Rate Cap Policy invalid, arbitrary and capricious,

  and contrary to law;

  d. An injunction permanently prohibiting Defendants, their agents, and anyone acting

  in concert or participation with Defendants from implementing, instituting,

  maintaining, or giving effect to the Rate Cap Policy in any form; from otherwise

  modifying negotiated indirect cost rates except as permitted by statute and by the

  regulations of OMB; and from rejecting or otherwise treating adversely proposals for

  NSF funding submitted at universities’ negotiated rates rather than the 15% rate;

  e. An order awarding Plaintiffs’ costs of suit and reasonable attorneys’ fees and

  expenses pursuant to any applicable law;

  f. Any such further relief as the Court deems equitable, just, and proper.



                         [Signatures on following page]




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Dated: May 5, 2025                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of May, 2025, I caused the foregoing to be

electronically filed with the clerk of the court for the U.S. District Court for the District of

Massachusetts, by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record, a true and correct copy of the foregoing instrument and all attachments.



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